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 Attorney for Plaintiff
 Bodyguard Productions, Inc.

                          UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII

  Bodyguard Productions, Inc.                  )   Case No.: 19-cv-139
                                               )   (Copyright)
                       Plaintiff,              )
      vs.                                      )   COMPLAINT; EXHIBITS 1-3
                                               )
  Alex Musante                                 )   (1) DIRECT COPYRIGHT
                       Defendant.              )       INFRINGEMENT
                                               )   (2) CONTRIBUTORY
                                               )       COPYRIGHT
                                               )       INFRINGEMENT
                                               )   (3) DEMAND FOR JURY TRIAL
                                               )
                                               )

                                       COMPLAINT

           Plaintiff Bodyguard Productions, Inc. (“Plaintiff”) files this Complaint against

 Defendant Alex Musante (“Defendant”) and alleges as follows:

                            I.      NATURE OF THE ACTION

           1.    This matter arises under the United States Copyright Act of 1976, as



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 amended, 17 U.S.C. §§ 101, et seq. (the Copyright Act”).

           2.   The Plaintiff alleges that Defendant is liable for: (1) direct copyright

 infringement in violation of 17 U.S.C. §§106 and 501; and, (2) contributory

 copyright infringement.

                         II.   JURISDICTION AND VENUE

           3.   This Court has subject matter jurisdiction over this action pursuant to

 17 U.S.C. §§ 101, et. seq., (the Copyright Act), 28 U.S.C. § 1331 (federal question),

 and 28 U.S.C. § 1338 (patents, copyrights, trademarks, and unfair competition).

           4.   Defendant either resides in, solicits, transacts, or is doing business

 within this jurisdiction, and has committed unlawful and tortious acts both within

 and outside this jurisdiction with the full knowledge that his acts would cause injury

 in this jurisdiction. As such, Defendant has sufficient contacts with this judicial

 district to permit the Court’s exercise of personal jurisdiction over each.

           5.   Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) - (c)

 because: (a) all or a substantial part of the events or omissions giving rise to the

 claims occurred in this District; and, (b) upon information and belief, the Defendant

 resides, and therefore can be found, in this State. Additionally, venue is proper in

 this District pursuant 28 U.S.C. § 1400(a) (venue for copyright cases), because the

 Defendant resides or may be found in this District.

                                    III.   PARTIES

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           6.    Plaintiff is a Nevada corporation with principal offices in Los Angeles,

 California.

           7.    Plaintiff is an affiliate of Millennium Funding, Inc. (Millennium).

 Millennium is a production company and distributor of a notable catalog of major

 motion pictures. (www.millenniumfilms.com).

           8.    Plaintiff is the owner of the copyright for the motion picture in the

 Work “The Hitman’s Bodyguard”, (hereafter: the “Work”) a major motion picture

 released in 2017.

           9.    The Work is an action movie directed by Patrick Hughes, and stars

 Ryan Reynolds as the world’s top bodyguard, and Samuel L. Jackson as a hitman

 and his new client. The Work tells the story of how the hitman and the bodyguard

 must put aside their difference and work together so that the hitman can testify at

 the International Court of Justice.

           10.   The Defendant is a member of a group of BitTorrent users or peers

 whose computers are collectively interconnected for the sharing of a particular

 unique file, otherwise known as a “swarm”. The particular file a BitTorrent swarm

 is associated with has a unique “hash” number, which in this case is: SHA1:

 19A41E2D9425C1809EFE7FB0B4571C372F495E76                      (the    “Unique     Hash

 Number”) shown in Exhibit 1.

           11.   Defendant infringed the Work on at least 2018-03-15 10:02:19 at

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 Internet Protocol (“IP”) address 174.239.2.217 as shown in Exhibit 1.

           12.   Defendant was also observed to be sharing copies of the Work at three

 other IP addresses as shown in Exhibit 1.

           13.   All of the four IP addresses shown in Exhibit 1 were associated with

 the Internet Service Provider (“ISP”) Verizon Wireless.

           14.   Verizon Wireless has indicated that the four IP addresses shown in

 Exhibit 1 were assigned to the account of Cindy Moyer at the time instances of

 infringement.

           15.   Upon information and belief, Cindy Moyer is not a resident of Hawaii

 and is rather a resident of Pennsylvania.

           16.   Upon information and belief, Defendant is the son of Cindy Moyer and

 controlled a telephone number and phone associated with the account of Cindy

 Moyer.

           17.   Upon information and belief, Defendant is a member of the United

 States Navy and was stationed at Hawaii at least during the times of the four

 instances of infringements shown in Exhibit 1.

           18.   Plaintiff alleges on information and belief that the Defendant named

 herein performed, participated in, or abetted in some manner, the acts alleged herein,

 proximately caused the damages alleged herein, and is liable to Plaintiff for the

 damages and relief sought herein.

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           19.   Plaintiff’s agent sent to Verizon Wireless multiple notices per 17

 U.S.C. 512(a) of the Digital Millennium Copyright Act (“DMCA notice”)

 requesting Defendant to stop the infringements of the Works.

           20.   Upon information and belief, Verizon Wireless sent these DMCA

 notices to Cindy Moyer, thereby putting Defendant on notice regarding these

 notices.

           21.   Defendant continued to infringe the Work after Cindy Moyer received

 all or some of the notices.

           22.   Defendant continued to participate in the trafficking of copyrighted

 content via the BitTorrent client application subsequent to Plaintiff sending the

 DMCA notices with the selection and download of new content in violation of the

 Copyright Act.

           23.   Defendant is either a direct or contributory infringer all as more

 particularly described below.

                           V.    FACTUAL BACKGROUND
           A. The Plaintiff Owns the Copyright to the Work

           24.   The Plaintiff is the owner of the copyright for the motion picture for

 the Work entitled “The Hitman’s Bodyguard”, a major motion picture released in

 2017.

           25.   The Work is the subject of copyright registration (Registration Number

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 PAu 3-844-508) for the motion picture, and this action is brought pursuant to 17

 U.S.C. § 411. See Exhibit “2”.

           26.   The Work is currently offered for sale in commerce.

           27.   Defendant had notice of Plaintiff’s rights through at least the credits

 indicated in the content of the motion picture which bore a proper copyright notice.

 See Exhibit “3”.

           28.   Defendant also had notice of Plaintiff’s rights through general

 publication and advertising associated with the motion picture, and packaging and

 copies, each of which bore a proper copyright notice

           B. The Defendant Used BitTorrent To Infringe the Plaintiff’s Copyright

           29.   BitTorrent is one of the most common peer-to-peer file sharing

 protocols (in other words, set of computer rules) used for distributing large amounts

 of data.

           30.   The BitTorrent protocol’s popularity stems from its ability to distribute

 a large file without creating a heavy load on the source computer and network. In

 short, to reduce the load on the source computer, rather than downloading a file from

 a single source computer (one computer directly connected to another), the

 BitTorrent protocol allows users to join a "swarm" of host computers to download

 and upload from each other simultaneously (one computer connected to numerous

 computers).

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                 1. Defendant Installed a BitTorrent Client onto his Computer

           31.   A BitTorrent “Client” is a software program that implements the

 BitTorrent Protocol. There are numerous such software programs which can be

 directly downloaded from the Internet.

           32.   Once installed on a computer, the BitTorrent “Client” serves as the

 user’s interface during the process of uploading and downloading data using the

 BitTorrent protocol.

           33.   According to the BitTorrent Peer ID convention, the BitTorrent Client

 sets the Peer ID and the first few characters are reserved to specify the Client

 application.

           34.   Defendant installed a BitTorrent Client onto his or her computer.

                 2. The Initial Seed, Torrent, Hash and Tracker

           35.   A BitTorrent user that wants to upload a new file, known as an “initial

 seeder,” starts by creating a “torrent” descriptor file using the Client he or she

 installed onto his or her computer.

           36.   The Client takes the target computer file, the “initial seed,” here the

 copyrighted Work, and divides it into identically sized groups of bits known as

 “pieces.”

           37.   The Client then gives each one of the computer file’s pieces, in this

 case, pieces of the copyrighted Work, a random and unique alphanumeric identifier

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 known as a “hash” and records these hash identifiers in the torrent file.

           38.   When another peer later receives a particular piece, the hash identifier

 for that piece is compared to the hash identifier recorded in the torrent file for that

 piece to test that the piece is error-free. In this way, the hash identifier works like an

 electronic fingerprint to identify the source and origin of the piece and that the piece

 is authentic and uncorrupted.

           39.   Torrent files also have an "announce" section, which specifies the URL

 (Uniform Resource Locator) of a “tracker,” and an "info" section, containing

 (suggested) names for the files, their lengths, the piece length used, and the hash

 identifier for each piece, all of which are used by Clients on peer computers to verify

 the integrity of the data they receive.

           40.   The “tracker” is a computer or set of computers that a torrent file

 specifies and to which the torrent file provides peers with the URL address(es).

           41.   The tracker computer or computers direct a peer user’s computer to

 other peer user’s computers that have particular pieces of the file, here the

 copyrighted Work, on them and facilitates the exchange of data among the

 computers.

           42.   Depending on the BitTorrent Client, a tracker can either be a dedicated

 computer (centralized tracking) or each peer can act as a tracker (decentralized

 tracking.)

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                 3. Torrent Sites

           43.   “Torrent sites” are websites that index torrent files that are currently

 being made available for copying and distribution by people using the BitTorrent

 protocol. There are numerous torrent sites.

           44.   Some BitTorrent Clients such as Popcorn Time and Showbox

 automatically find Torrent Sites for users.

           45.   Upon information and belief, Defendant went to a torrent site to upload

 and download Plaintiff’s copyrighted Work.

                 4. Uploading and Downloading a Work Through a BitTorrent
                    Swarm

           46.   Once the initial seeder has created a torrent and uploaded it onto one or

 more torrent sites, then other peers begin to download and upload the computer file

 to which the torrent is linked (here the copyrighted Work) using the BitTorrent

 protocol and BitTorrent Client that the peers installed on their computers.

           47.   The BitTorrent protocol causes the initial seed’s computer to send

 different pieces of the computer file, here the copyrighted Work, to the peers seeking

 to download the computer file.

           48.   Once a peer receives a piece of the computer file, here a piece of the

 copyrighted Work, it starts transmitting that piece to the other peers.

           49.   In this way, all of the peers and seeders are working together in what is

 called a “swarm.”
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            50.   Here, Defendant participated in a swarm and directly interacted and

  communicated with other members of that swarm through digital handshakes, the

  passing along of computer instructions, uploading and downloading, and by other

  types of transmissions.

            51.   In this way, and by way of example only, one initial seeder can create

  a torrent that breaks a movie up into hundreds or thousands of pieces saved in the

  form of a computer file, like the Work here, upload the torrent onto a torrent site,

  and deliver a different piece of the copyrighted Work to each of the peers. The

  recipient peers then automatically begin delivering the piece they just received to the

  other peers in the same swarm.

            52.   Once a peer has downloaded the full file, the BitTorrent Client

  reassembles the pieces and the peer is able to view the movie. Also, once a peer has

  downloaded the full file, that peer becomes known as “an additional seed,” because

  it continues to distribute the torrent file, here the copyrighted Work.

                 5. The Plaintiff’s Computer Investigators Identified Defendant’s IP
            Addresses as a Participant in a Swarm That Was Distributing the Plaintiff’s
            Copyrighted Work

            53.   The Plaintiff retained Maverickeye UG (“MEU”) to identify the IP

  addresses that are being used by those people that are using the BitTorrent protocol

  and the internet to reproduce, distribute, display or perform the Plaintiff’s

  copyrighted Work.

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            54.   MEU used forensic software to enable the scanning of peer-to-peer

  networks for the presence of infringing transactions.

            55.   MEU extracted the resulting data emanating from the investigation,

  reviewed the evidence logs, and isolated the transactions and the IP addresses

  associated therewith for the files identified by the SHA-1 hash value of: SHA1:

  19A41E2D9425C1809EFE7FB0B4571C372F495E76                       (the    “Unique       Hash

  Number”) associated with the Work.

            56.   The Fourth IP address (“174.239.2.217”), Unique Hash Number, and

  hit date contained on Exhibit “1” accurately reflect what is contained in the evidence

  logs and show that Defendant had copied a piece of the Plaintiff’s copyrighted Work

  identified by the Unique Hash Number during a series of transactions.

            57.   Through each of the transactions, the Defendant’s computer used the

  identified Fourth IP address to connect to the investigative server from a computer

  in this District in order to transmit a full copy, or a portion thereof, of a digital media

  file identified by the Unique Hash Number.

            58.   MEU’s agent analyzed the BitTorrent “pieces” distributed by the

  Fourth IP address listed on Exhibit “1” and verified that re-assemblage of the pieces

  using a BitTorrent Client results in a fully playable digital motion picture of the

  Work.

            59.   MEU’s agent viewed the Work side-by-side with the digital media file

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  that correlates to the Unique Hash Number and determined that they were identical,

  strikingly similar or substantially similar.

                             VI. FIRST CLAIM FOR RELIEF
                                 (Copyright Infringement)

            60.   Plaintiff re-alleges and incorporates by reference the allegations

  contained in each of the foregoing paragraphs.

            61.   Plaintiff is the copyright owner of the Work which contains an original

  work of authorship.

            62.   By using the BitTorrent protocol and a BitTorrent Client and the

  processes described above, Defendant copied the constituent elements of the

  registered Work that are original.

            63.   The Plaintiff did not authorize, permit, or provide consent to the

  Defendant to copy, reproduce, redistribute, perform, or display its Work.

            64.   As a result of the foregoing, Defendant violated the Plaintiff’s exclusive

  right to: (A) Reproduce the Work in copies, in violation of 17 U.S.C. §§ 106(1) and

  501; (B) Redistribute copies of the Work to the public by sale or other transfer of

  ownership, or by rental, lease or lending, in violation of 17 U.S.C. §§ 106(3) and

  501; (C) Perform the copyrighted Work, in violation of 17 U.S.C. §§ 106(4) and 501,

  by showing the Work’s images; and, (D) Display the copyrighted Work, in violation

  of 17 U.S.C. §§ 106(5) and 501, by showing individual images of the Work non-

  sequentially and transmitting said display of the Work by means of a device or
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  process to members of the public capable of receiving the display (as set forth in 17

  U.S.C. § 101’s definition of “publicly” display.)

            65.   The Defendant’s infringements were committed “willfully” within the

  meaning of 17 U.S.C. § 504(c)(2).

            66.   By engaging in the infringement alleged in this Complaint, the

  Defendant deprived not only the producer of the Work from income that could have

  been derived when this film was shown in public theaters and offered for sale or

  rental, but also all persons involved in the production and marketing of this film,

  numerous owners of local theaters and retail outlets in Hawaii and their employees,

  and, ultimately, the local economy. The Defendant’s misconduct therefore offends

  public policy.

            67.   The Plaintiff has suffered damages that were proximately caused by the

  Defendant’s copyright infringement including, but not limited to lost sales, price

  erosion, and a diminution of the value of its copyright.

                          VII. SECOND CLAIM FOR RELIEF
                         (Contributory Copyright Infringement)

            68.   Plaintiff re-alleges and incorporates by reference the allegations

  contained in each of the foregoing paragraphs.

            69.   By participating in the BitTorrent swarm, Defendant induced, caused

  or materially contributed to the infringing conduct of each other peer member of the

  swarm.
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            70.   The Plaintiff did not authorize, permit, or provide consent to the

  Defendant inducing, causing, or materially contributing to the infringing conduct of

  other peer members in the swarm.

            71.   Defendant knew or should have known that the other BitTorrent users

  in a swarm with it were directly infringing the Plaintiff’s copyrighted Work by

  copying constituent elements of the registered Work that are original. Indeed,

  Defendant directly participated in and therefore materially contributed to other peer

  members’ infringing activities.

            72.   The Defendant’s infringements were committed “willfully” within the

  meaning of 17 U.S.C. § 504(c)(2).

            73.   By engaging in the contributory infringement alleged in this Complaint,

  the Defendant deprived not only the producer of the Work from income that could

  have been derived when this film was shown in public theaters and offered for sale

  or rental, but also all persons involved in the production and marketing of this film,

  numerous owners of local theaters and retail outlets in Hawaii and their employees,

  and, ultimately, the local economy. The Defendant’s misconduct therefore offends

  public policy.

            74.   The Plaintiff has suffered damages that were proximately caused by the

  Defendant’s contributory copyright infringement including, but not limited to lost

  sales, price erosion, and a diminution of the value of its copyright.

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            WHEREFORE, the Plaintiff respectfully requests that this Court:

            (A) permanently enjoin Defendant from continuing to infringe the Plaintiff’s

  copyrighted Work;

            (B) order that Defendant delete and permanently remove the torrent file

  relating to the Plaintiff’s copyrighted Work from the computers under Defendant’s

  possession, custody, or control;

            (C) order that Defendant delete and permanently remove the copy of the Work

  Defendant has on the computers under the Defendant’s possession, custody, or

  control;

            (D) award the Plaintiff either its actual damages and any additional profits of

  the Defendant pursuant to 17 U.S.C. § 504(a)-(b) or statutory damages in the amount

  of $150,000 pursuant to 17 U.S.C. § 504-(a) and (c), whichever is greater;

            (E) award the Plaintiff its reasonable attorneys’ fees and costs pursuant to 17

  U.S.C. § 505; and

            (F) grant the Plaintiff any and all other and further relief that this Court deems

  just and proper.

            The Plaintiff hereby demands a trial by jury on all issues properly triable by

  jury.



            DATED: Kailua-Kona, Hawaii, March 18, 2019.

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                               CULPEPPER IP, LLLC


                               /s/ Kerry S. Culpepper
                               Kerry S. Culpepper

                               Attorney for Plaintiff
                               Bodyguard Productions, Inc.




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